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11
      Attorneys for Defendant
12    J.B. Hunt Transport, Inc.

13                                UNITED STATES DISTRICT COURT
14                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
15

16    JAVIER MANRIQUEZ, individually, and on                CASE NO.:
      behalf of all others similarly situated,
17
                                                            [State Case No.: 22CV009805
18                           Plaintiff,                     Filed: April 13, 2022]

19                           v.                             CLASS ACTION
20    J.B. HUNT TRANSPORT, INC., and DOES
      1-100, inclusive,                                     NOTICE OF REMOVAL
21

22
                             Defendants.
23

24
                                          NOTICE OF REMOVAL
25
            Defendant J.B. Hunt Transport, Inc. (“Defendant”), through undersigned counsel, hereby
26
     removes the state court action entitled Javier Manriquez v. J.B. Hunt Transport, Inc., et al., Civil
27
     Action No. 22CV009805, filed in the Superior Court of the State of California for the County of
28
                                                      1
     NOTICE OF REMOVAL                                                          Case No.:
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 1 Alameda, to the United States District Court for the Northern District of California. Removal is

 2 warranted under 28 U.S.C. § 1441(b) because the Court has original jurisdiction over this action

 3 under 28 U.S.C. §§ 1331, 1332, and 1367.

 4         In support of removal, Defendant states as follows:

 5                                     PROCEDURAL HISTORY

 6         1.      On April 13, 2022, Plaintiff Javier Manriquez commenced an action against

 7 Defendant in Alameda County Superior Court. Defendant accepted service of the Complaint

 8 (“Compl.”) on April 25, 2022, pursuant to California Code of Civil Procedure § 415.30. Defendant
 9 has timely filed this Notice of Removal within 30 days of receipt, through service or otherwise, of a

10 copy of the first pleading from which it became ascertainable that the matter was removable, in

11 accordance with 28 U.S.C. § 1446(b)(1).

12         2.      As required by 28 U.S.C. § 1446(a), all process, pleadings, and orders served on

13 Defendant in the action to date are attached hereto as Exhibits 1-7.

14                                           BACKGROUND

15         1.      Defendant provides logistics, shipping, and transportation services across North

16 America.

17         3.      Plaintiff alleges five causes of action under the Fair Credit Reporting Act (“FCRA”)

18 (15 U.S.C. §§ 1681b(b)(2)(A), 1681d(a), 1681d(b), 1681g(c)), California’s Investigative Consumer

19 Reporting Agency Act (“ICRAA”) (Cal. Civ. Code §§ 1786.16(a)(2), 1786.16(a)(2)(B)(v)),

20 California’s Consumer Credit Reporting Agencies Act (“CCRAA”) (Cal. Civ Code 1785.20.5(a)),

21 and the California Unfair Competition Law (“UCL”) (Cal. Bus. and Prof. Code §17200). (Compl.

22 ¶ 3.) Plaintiff alleges that when applying for employment with Defendant, Defendant failed to

23 properly format certain disclosures and provide other disclosures required by FCRA, ICRAA, and

24 CCRAA when Defendant sought consumer reports related to Plaintiff. Plaintiff seeks to represent a

25 nationwide class and two sub-classes of California residents, and seeks actual and statutory damages,

26 along with declaratory and injunctive relief and attorney’s fees. (Id. ¶¶ 9-10, p. 53.)

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 1                                        BASIS FOR REMOVAL

 2         4.      “[A]ny civil action brought in a State court of which the district courts of the United

 3 States have original jurisdiction, may be removed by the defendant or the defendants, to the district

 4 court of the United States for the district and division embracing the place where such action is

 5 pending.” 28 U.S.C. § 1441(a).

 6         5.      This action is removable pursuant to 28 U.S.C. § 1441(a) because this Court has

 7 original jurisdiction over this action for two independent reasons: (1) this Court has jurisdiction under

 8 the Class Action Fairness Act; and (2) this Court has federal question and supplemental jurisdiction.
 9 I.      This Court Has Original Jurisdiction Under the Class Action Fairness Act.

10         6.      The Class Action Fairness Act (“CAFA”) grants the federal district courts original

11 jurisdiction over a putative class action if (1) the action purports to be a “class” action brought on

12 behalf of 100 or more members; (2) there is minimal diversity; and (3) the amount in controversy

13 exceeds $5,000,000. See 28 U.S.C. § 1332(d)(2). Every element necessary for CAFA jurisdiction

14 is satisfied here.

15         7.      First, this action is a putative class action in which “the class is estimated to be greater

16 than 100 individuals.” (Compl. ¶ 35.) Based on Defendant’s investigation of this case, and

17 Plaintiff’s allegations, each of the proposed classes easily exceed 100 members each.

18         8.      Second, the minimal diversity requirement is satisfied. Minimal diversity exists for

19 CAFA purposes when “any member of a class of plaintiffs is a citizen of a State different from any

20 defendant.” 28 U.S.C. § 1332(d)(2)(A). Corporations like Defendant are considered citizens of their

21 state of incorporation and the state where they are headquartered. Id. § 1332(c)(1).

22         9.      Here, Plaintiff alleges “[Defendant] is a Georgia corporation” (Compl. ¶ 14.)

23 Defendant is, in fact, a Georgia corporation, with its headquarters in Arkansas. Defendant is thus a

24 citizen of Georgia and Arkansas.

25         10.     The putative classes consist of persons “residing in the United States” or “residing in

26 California.”    (Compl. ¶ 32.)     A nationwide class necessarily satisfies the minimal diversity

27 requirement. See, e.g., Broadway Grill, Inc. v. Visa Inc., 856 F.3d 1274, 1276 (9th Cir. 2017)

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 1 (concluding that minimal diversity was satisfied when class definition, as pleaded, included a

 2 nationwide class and many non-citizens of California).

 3         11.     Accordingly, because the classes include members who are not citizens of Georgia or

 4 Arkansas, while Defendant is a citizen of both Georgia and Arkansas, the minimal diversity

 5 requirement is satisfied.

 6         12.     Third, the amount in controversy exceeds $5,000,000 exclusive of interest and costs.

 7 “In any class action, the claims of the individual class members shall be aggregated to determine

 8 whether the matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest and
 9 costs.” 18 U.S.C. § 1332(d)(6). In determining whether the amount in controversy requirement is

10 satisfied, courts consider the monetary value of the claims the plaintiff has alleged, as well as the

11 cost to the defendants of complying with any requested injunctive or declaratory relief. See 14AA

12 Wright & Miller, Federal Practice and Procedure Jurisdiction and Related Matters §§ 3702.1, 3708

13 (4th ed. 2021). Attorney’s fees provided by statute are included in this calculation. Arias v.

14 Residence Inn by Marriott, 936 F.3d 920, 922 (9th Cir. 2019).

15         13.     Here, Plaintiff has not specified a specific dollar amount he is seeking to recover from

16 this action. However, the Complaint seeks “[a]n award of statutory, compensatory, special, general,

17 and punitive damages according to proof.” (Compl. at p. 23 (prayer for relief).) The Complaint also

18 seeks attorney’s fees. (Id. at p. 24.)

19         14.     Plaintiff alleges willful or negligent violations of FCRA, CCRAA, and ICRAA, and

20 seeks statutory damages, actual damages, punitive damages, injunctive and equitable relief, and

21 attorney’s fees and costs in connection with the FCRA, ICRAA, and CCRAA classes. (Compl. ¶¶ 46,

22 59, 50, 63, 66.) Pursuant to 15 U.S. Code § 1681n(a), a person who “willfully fails to comply with

23 a[] requirement [of FCRA] with respect to any consumer is liable to that consumer in an amount

24 equal to the sum of . . . any actual damages sustained by the consumer as a result of the failure or

25 damages of not less than $100 and not more than $1,000 . . . such amount of punitive damages as the

26 court may allow; and . . . in the case of any successful action to enforce any liability under this

27 section, the costs of the action together with reasonable attorney’s fees as determined by the court.”

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 1         15.     Although Defendant does not believe Plaintiff’s claims have merit, if the court were

 2 to find Defendant willfully violated the FCRA, ICRAA, and CCRAA, Defendant could be liable for

 3 damages in an amount exceeding $5,000,000. Based on Defendant’s review of its business records,

 4 there are at least 5,001 members of each of the FCRA, ICRAA, and CCRAA putative classes. With

 5 FCRA carrying potential statutory damages of up to $1000 per violation, and CCRAA and ICRAA

 6 containing damages provisions as well, the amount in controversy could exceed $5,000,000. Arias,

 7 936 F.3d at 927 (holding “amount in controversy reflects the maximum recovery the plaintiff could

 8 reasonably recover”).
 9         16.     In addition, Plaintiff requests statutorily provided attorney’s fees, which are included

10 in the amount in controversy calculation. See id. at 922. (Compl. ¶8.) While Defendant believes

11 the claims asserted do not have merit, and Plaintiff is not entitled to an award of attorney’s fees, any

12 attorney fee award based on Plaintiff’s attorney’s historical rates, past settlements, and attorney’s

13 fees awards, along with the Ninth Circuit’s 25% benchmark for fees would be additive to the amount

14 in controversy which already exceeds $5,000,000. In re Bluetooth Headset Prod. Liab. Litig., 654

15 F.3d 935, 942 (9th Cir. 2011) (holding 25% of common fund is “benchmark” for a reasonable fee

16 award).

17         17.     The amount in controversy requirement is satisfied here, as an amount in excess of

18 $5,000,000 is at stake in this litigation. Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 417 (9th

19 Cir. 2018).

20 II.     This Court Also Has Federal Question Jurisdiction Over This Action.

21         18.     This Court also has original jurisdiction over this action because it has federal

22 question and supplemental jurisdiction over all of the claims Plaintiff asserts.

23         19.     28 U.S.C. § 1331 states: “The district courts shall have original jurisdiction of all civil

24 actions arising under the Constitution, laws, or treaties of the United States.”

25         20.     Plaintiff alleges two causes of action under FCRA: (1) a failure to provide proper

26 disclosure under 15 U.S.C § 1681b(b)(2)(A), and (2) failure to provide a summary of rights in

27 violation of 15 U.S.C. §§ 1681d(a)(1) and 1681g(c). (Compl. ¶¶ 44, 55.)

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 1         21.     Because these causes of action arise out of FCRA, a federal law, this Court has

 2 original jurisdiction over this action.

 3         22.     The Court also has supplemental jurisdiction over Plaintiff’s remaining claims.

 4 Under 28 U.S.C. § 1367(a), “in any civil action of which the district courts have original jurisdiction,

 5 the district courts shall have supplemental jurisdiction over all other claims that are so related to

 6 claims in the action within such original jurisdiction that they form part of the same case or

 7 controversy under Article III of the United States Constitution. Such supplemental jurisdiction shall

 8 include claims that involve the joinder or intervention of additional parties.”
 9         23.     The Supreme Court has held that supplemental jurisdiction exists when “state and

10 federal claims . . . derive from a common nucleus of operative fact.” United Mine Workers of Am.

11 v. Gibbs, 383 U.S. 715, 725 (1966). The Court went on to state that supplemental jurisdiction is

12 appropriate if “considered without regard to their federal or state character, a plaintiff’s claims are

13 such that he would ordinarily be expected to try them all in one judicial proceeding, then, assuming

14 substantiality of the federal issues.” Id.

15         24.     Each of Plaintiff’s claims arises out of a common nucleus of operative facts.

16 Plaintiff’s claims under FCRA, ICRAA, and CCRAA are all based on Defendant’s alleged failure to

17 make certain required disclosures to him as a part of his employment application. (Compl. ¶¶ 44,

18 55-62, 76-77, 92.) Based on these allegations, the claims are so interrelated that they “would

19 ordinarily be expected to [be tried] all in one judicial proceeding,” which demonstrates that

20 supplemental jurisdiction over those claims is appropriate. United Mine Workers, 383 U.S. at 725.

21 As they all arise from the same circumstance, and therefore Plaintiff is likely to “rely[] upon largely

22 the same evidence and same witnesses in proving each of these claims,” they are interrelated such

23 that they should be tried in one judicial proceeding. See Perez v. Ensign Servs., Inc., No. 8:16-cv-

24 1914-JLS-JCGx, 2017 WL 8181145, at *4, 5 (C.D. Cal. Jan. 19, 2017) (concluding ICRAA claim

25 was “substantively the same as . . . FCRA claim” when dismissing both, and that both “CCRAA

26 claim and [the] FCRA claim are based on [company’s] failure to make certain required disclosures”

27 when finding supplemental jurisdiction.).

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 1 III.    All Other Procedural Prerequisites For Removal Are Satisfied.

 2         25.     Plaintiff’s state court action was commenced in the Superior Court of Alameda

 3 County, in the State of California and, under 28 U.S.C. §§ 84(a) and 1446(a), may be removed to

 4 this United States District Court for the Northern District of California, which includes Alameda

 5 County within its jurisdiction.

 6         26.     “The notice of removal of a civil action or proceeding shall be filed within 30 days

 7 after the receipt by the defendant, through service or otherwise, of a copy of the initial pleading

 8 setting forth the claim for relief upon which such action or proceeding is based . . . .” 28 U.S.C.
 9 § 1446(b)(1). “[I]f the case stated by the initial pleading is not removable, a notice of removal may

10 be filed within 30 days after receipt by the defendant, through service or otherwise, of a copy of an

11 amended pleading, motion, order or other paper from which it may first be ascertained that the case

12 is one which is or has become removable.” 28 U.S.C. § 1446(b)(3).

13         27.     The Complaint was filed on April 13, 2022. (See Ex. 1) The grounds for removal

14 first became ascertainable when Defendant was served the Complaint on April 25, 2022. (See Ex.

15 7.) This Notice of Removal is being filed within 30 days of service of the Complaint, and the Notice

16 is therefore timely.

17         28.     The undersigned counsel represent the named Defendant in this matter, who seeks

18 removal. The consent of the unnamed Doe defendants is not required. See Fristoe v. Reynolds

19 Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980) (unnamed defendants not required to join in removal

20 petition).

21         29.     As 28 U.S.C. § 1446(d) requires, Defendant will file a copy of this Notice of Removal

22 with the Clerk of Court for the Superior Court of Alameda County. Defendant also will promptly

23 serve a copy of this Notice on counsel for Plaintiff.

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 1                                            CONCLUSION

 2         By removing this action to this Court, Defendant does not waive, but instead expressly

 3 reserves any and all arguments available to it.

 4         WHEREFORE, Defendant respectfully removes this action from the Superior Court of

 5 Alameda County, in the State of California, bearing case number 22CV009805, to the United States

 6 District Court for the Northern District of California.

 7

 8 DATED: May 24, 2022                     SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

 9                                         By:                  /s/ Jason D. Russell
                                                                  Jason D. Russell
10                                               Attorneys for Defendant J.B. Hunt Transport, Inc.
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 1                                           ATTESTATION
 2
            I, Jason D. Russell, am the ECF User whose ID and password are being used to file this
 3
     Notice of Removal. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that co-counsel
 4
     has concurred in this filing.
 5

 6
     DATED: May 24, 2022                   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 7
                                           By:                  /s/ Jason D. Russell
 8                                                                Jason D. Russell
                                                 Attorneys for Defendant J.B. Hunt Transport, Inc.
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           EXHIBIT 7
                           Case 3:22-cv-03060-SK Document 1 Filed 05/24/22 Page 53 of 54

                                                                                                                                                                                            POS-015
   ATIORNEY OR PARTY WITHOUT ATTORNEY (Name , State Bar number, and address) :                                                                                      FOR COURT USE ONLY

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- Pooja V. Patel (SBN: 317891); Courtney M. Miller, Esq. (SBN: 327850)
   LAVI & EBRAHIMIAN, LLP
   8889 W. Olympic B lvd, Suite 200, Beverly Hills, CA 90211
            TELEPHONE NO.: 310-432-0000              FAX NO. (Optional): (31 0) 4 32-0001

   E-MAIL ADDRESS (Optional): whteam 1@lelawfirm.com

      ATIORNEY FOR (Name) : Plaintiff JAVIER MANRIQUEZ


  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
             STREET ADDREss:   1225 Fallon Street
             MAILING ADDREss:  1225 Fallon Street
            CITY AND ZIP coDE: Oakland, California 94612

                BRANCH NAME: Rene C . Davidson Courthouse



          PLAINTIFF/PETITIONER: JAVIER MANRIQUEZ

    DEFENDANT/RESPONDENT:                      JB HUNT TRANSPORT, INC., et al.
                                                                                                                                                        CASE NUMBER:
                       NOTICE AND ACKNOWLEDGMENT OF RECEIPT-CIVIL                                                                                                      22CV009805


TO (insert name of party being served):.::..:IB::::.. .:.HUN=.. .:. T. :. _. :T.. .:. RA:::.. . :. :N.. .:. S:::.:P:.. .:O:::.;R:..::T..:. J. .;,I:. :.N.:. :C: :.·:- - - - - - - - - - - - - - - - - - - - -


                                                                                                NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing: April              15, 2022

    Pooja V. Patel. Esq. (Attorney for Plaintiff)                                                                      ~
                                                                                                                    ~------------------
                                          (TYPE OR PRINT NAME)                                                             (SIGNATURE OF SENDER-MUST NOT BE A PARTY IN THIS CASE)


                                                                       ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    1.    ITJ A copy of the summons and of the complaint.
     2.   ITJ        Other (specify):
                     Civil Case Cover Sheet; Notice of Case Management Conference; ADR Packet



     (To be completed by recipient):

     Date this form is signed:



                                  NT YOUR NAME AND NAME OF ENTITY, IF ANY,
                                   OSE BEHALF THIS FORM IS SIGNED)




                                                                                                                                                                                                 Page 1 of 1
Form Adopted for Mandatory Use                                                                                                                                                       Code of Civil Procedure,
  Judicial Council of California                                                                                                                                                          §§ 415.30,417.10
POS-015 [Rev. January 1, 2005]                                                                                                                                                         www.courlinfo.ca.gov
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     MANRIQUEZ v. JB HUNT TRANSPORT, INC. (FCRA)                                 CASE NO. 22CV009805

2                                           PROOF OF SERVICE

3                       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

4           I am an employee in the County of Los Angeles, State of California. I am over the age of
     18 and not a party to the within action; my business address is 8889 W. Olympic Blvd., Suite 200,
5    Beverly Hills, California 90211.

6
            On May 2, 2022, I served the foregoing documents, described as:

7
                    "NOTICE AND ACKNOWLEDGMENT OF RECEIPT -CIVIL"

8    on all interested parties in this action by placing a true copy thereof in a sealed envelope, addressed
     as follows:
9
     Michael W. McTigue Jr., Esq.                            Attorney for Defendant
10   SKADDEN, ARPS, SLATE, MEAGHER &
     FLOMLLP
II   One Manhattan West
     New York, New York, 10001
12

13
            (BY MAIL) As follows:
14
            I placed such envelope, with postage thereon prepaid, in the United States mail at Los
15          Angeles, California.

16          I am "readily familiar" with the firm's practice of collecting and processing correspondence
            for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that
17          same day, with postage thereon fully prepaid, at Los Angeles, California, in the ordinary
            course of business. I am aware that, on motion of the party served, service is presumed
18          invalid if the postal cancellation or postage meter date is more than one day after the date of
            deposit for mailing in this affidavit.
19
            (STATE) I declare, under penalty of perjury under the laws of the State of California, that
20          the above is true and correct.

21          Executed May 2, 2022, at Beverly Hills, California.

22

23                                                                   Is/ Stephanie Recendez
                                                                        Stephanie Recendez
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                                               PROOF OF SERVICE
                                                         I
